Case 1:19-cr-00036-CCB Document 186 Filed 08/20/19 Page 1 of 10

CIFS.29.19

   

U.S. Department of Justice

 

United States Attorney
District of Maryland
Patricia McLane Suite 400 DIRECT: 410-209-4942
Assistant United States Attorney 36S. Charles Street MAIN: 410-209-4860
Patricia McLane@usdoj.gov Baltimore, MD 21201-3119 FAX: 410-962-3124
a
=<: =: we c
m SE
ee ee
June 7, 2019 ee = Sa
§ wis @ Gs
as wd ad
Alan Bussard, Esq. m3 ~ Sa
101 E. Chesapeake Avenue Frey mtn
. wh “wo ed
Suite 200 Q: Gn = “iQ
m  aics :
Towson, MD 21286 oT OS
ce oF 7
. . ~< ana Ss
Re: United States v. Brittany Jones,

Criminal No. CCB-19-036 (D. Md.)

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Asreement’) that has been offered to your client, Brittany Jones (hereinafter “Defendant”), by
the United States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer

has not been accepted by July 1, 2019, it wil! be deemed withdrawn. The terms of the Agreement
are as follows:

Offense of Conviction

1, The Defendant agrees to plead guilty to Count One of the Indictment, which charges the
Defendant with a Conspiracy to Distribute and Possess with the Intent to Distribute 280g or More
of Crack Cocaine, in violation of 21 U.S.C. § 846. The Defendant admits that the Defendant is, in
fact, guilty of the offense and will so advise the Court.

Elements of the Offense(s)

2. The elements of the offense to which the Defendant has agreed to plead guilty, and which
this Office would prove if the case went to trial, are as follows: That on or about the time alleged
in the Indictment, in the District of Maryland:

a. That two or more persons, directly or indirectly, reached an agreement to
distribute and possess with the intent to distribute 280 grams or more of a
mixture or substance that contains cocaine base;

b. That the Defendant knew of the unlawful purpose of the agreement; and
Case 1:19-cr-00036-CCB Document 186 Filed 08/20/19 Page 2 of 10

c. That the Defendant joined in the agreement willfully, that is, with the intent to
further its unlawful purpose.

 

 

 

 

 

 

 

 

 

 

 

Penalties
3. The maximum penalties provided by statute for the offense to which the Defendant is
pleading guilty are as follows:
COUNT | STATUTE | MAND. MIN. MAX MAX MAX FINE | SPECIAL
IMPRISON- IMPRISON- | SUPERVISED ASSESS-
MENT MENT RELEASE MENT
1 21 U.S.C. 10 years life years 5 years $10 million | $100
§ 846 mandatory
minimum, life
maximum
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

Cc. Restitution: The Court may order the Defendant to pay restitution pursuant to 18
U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant

2
Case 1:19-cr-00036-CCB Document 186 Filed 08/20/19 Page 3 of 10

agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

a.

If the Defendant had pled not guilty and persisted in that plea, the Defendant would
have had the right to a speedy jury trial with the close assistance of competent
counsel. That trial could be conducted by a judge, without a jury, if the Defendant,
this Office, and the Court all agreed.

If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have
the opportunity to challenge prospective jurors who demonstrated bias or who were
otherwise unqualified, and would have the opportunity to strike a certain number
of jurors peremptorily. All twelve jurors would have to agree unanimously before
the Defendant could be found guilty of any count. The jury would be instructed
that the Defendant was presumed to be innocent, and that presumption could be
overcome only by proof beyond a reasonable doubt.

If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the
right to confront and cross-examine the government’s witnesses. The Defendant
would not have to present any defense witnesses or evidence whatsoever. If the
Defendant wanted to call witnesses in defense, however, the Defendant would have
the subpoena power of the Court to compel the witnesses to attend.

The Defendant would have the right to testify in the Defendant’s own defense if the
Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could
not draw any adverse inference from the Defendant’s decision not to testify.

If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial! and trial decisions on the admissibility
of evidence to see if any errors were committed which would require a new trial or
dismissal of the charges. By pleading guilty, the Defendant knowingly gives up
the right to appeal the verdict and the Court’s decisions.

By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that
the Defendant may have to answer the Court’s questions both about the rights being
given up and about the facts of the case. Any statements that the Defendant makes
during such a hearing would not be admissible against the Defendant during a trial
except in a criminal proceeding for perjury or false statement.
Case 1:19-cr-00036-CCB Document 186 Filed 08/20/19 Page 4 of 10

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no
further trial or proceeding of any kind in the above-referenced criminal case, and
the Court will find the Defendant guilty,

h. By pleading guilty, the Defendant will also be giving up certain valuable civil rights
and may be subject to deportation or other loss of immigration status, including
possible denaturalization. The Defendant recognizes that if the Defendant is not a
citizen of the United States, or ts a naturalized citizen, pleading guilty may have
consequences with respect to the Defendant's immigration status. Under federal
law, conviction for a broad range of crimes can lead to adverse immigration
consequences, including automatic removal from the United States. Removal and
other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or
the Court, can predict with certainty the effect of a conviction on immigration
status. The Defendant is not relying on any promise or belief about the immigration
consequences of pleading guilty. The Defendant nevertheless affirms that the
Defendant wants to plead guilty regardless of any potential immigration
consequences.

Advisory Sentencing Guidelines Apply

 

5. The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform Act of
1984 at 18 ULS.C, § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28 U.S.C.
§§ 991 through 998. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. a. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agree that the applicable base offense jevel is a level 30 pursuant to United States Sentencing
Guidelines (“U.S.8.G.”) §§ 2D1.1(a)(5), (c)(4) to account for the distribution of and possession
with the intent to distribute 280 grams or more of a mixture or substance that contains cocaine
base; in addition, the parties agree that a minimum mandatory sentence of 120 months applies.

b. Pursuant to U.S.S.G. § 2D1.1(b)(1), a two-level increase in the offense level is
appropriate because a firearm was possessed in furtherance of the conspiracy by members of the
conspiracy. With this two-level increase, the adjusted offense level is 32.

c. This Office does not oppose a two-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
one-level decrease in recognition of the Defendant’s acceptance of personal responsibility for the

4
Case 1:19-cr-00036-CCB Document 186 Filed 08/20/19 Page 5 of 10

Defendant’s conduct. This Office may oppose any adjustment for acceptance of responsibility
under U.S.8.G. § 3E].1(a) and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if
the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offense; (iii) gives conflicting statements about the Defendant’s involvement
in the offense; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way. If the Defendant receives this
three-level reduction, the adjusted offense level is 29.

7. A pre-plea criminal history report was completed in this case and the parties believe the
Defendant is a Criminal History Category I. As such, the parties anticipate that the Defendant will
not have more than one criminal history point and, as a result, may qualify for a further two-level
reduction in her offense level pursuant to U.S.S.G. §§ 2D1.1(b)(16) and 5C1.2. If the Defendant
obtains this two-level reduction, her final offense level will be 27.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Obligations of the Parties

9. At the time of sentencing, this Office and the Defendant reserve the right to advocate for a
reasonable sentence, period of supervised release, and/or fine considering any appropriate factors
under 18 U.S.C. § 3553(a). This Office reserves the right to bring to the Court’s attention all
information with respect to the Defendant’s background, character, and conduct that this Office
deems relevant to sentencing, including the conduct that is the subject of any counts of the
Indictment. At the time of sentencing, this Office will move to dismiss any open counts against
the Defendant.

Waiver of Appeal

10. In exchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

a, The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s).

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
Case 1:19-cr-00036-CCB Document 186 Filed 08/20/19 Page 6 of 10

imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

(i) The Defendant reserves the right to appeal any sentence that exceeds the
statutory maximum; and ,

(ii) This Office reserves the right to appeal any sentence below a statutory
minimum.

c, The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Forfeiture

ll. oa The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

b. Specifically, but without limitation on the government’s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in the following items that the Defendant agrees constitute
money, property, and/or assets derived from or obtained by the Defendant as a result of, or used
to facilitate the commission of, the Defendant’s illegal activities:

c. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described in the two above subparagraphs and waives the requirements of Federal Rules of
Criminal Procedure 1 #(b)(1)(J), 32.2 and 43{a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

d. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

€. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seck review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.
Case 1:19-cr-00036-CCB Document 186 Filed 08/20/19 Page 7 of 10

Defendant’s Conduct Prior to Sentencing and Breach

12, a. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.8.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

b. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office wil! be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c}(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule t] of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1}(C)}—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 1 1(c)(1)(C).

Court Not a Party

13. The Court is not a party to this Agreement. The sentence to be imposed is within the sole
discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation in this
Agreement. The Court will determine the facts relevant to sentencing. The Court is not required
to accept any recommendation or stipulation of the parties. The Court has the power to impose a
sentence up to the maximum penalty allowed by law. If the Court makes sentencing findings
different from those stipulated in this Agreement, or if the Court imposes any sentence up to the
maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations under
this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

14. ‘This letter, together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings,
promises, or conditions between this Office and the Defendant. There are no other agreements,
promises, undertakings, or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement. No changes to this Agreement will be effective
unless in writing, signed by all parties and approved by the Court.
Case 1:19-cr-00036-CCB Document 186 Filed 08/20/19 Page 8 of 10

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Robert K. Hur
United States ‘ m

By: /s/
Patricia McLane
Charles Austin
Assistant United States Attorneys

 

I have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

 
    

Dat Brittany Jones

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

7 [fe@/e oe SLD

Date Alan Bussard, Esq.
Case 1:19-cr-00036-CCB Document 186 Filed 08/20/19 Page 9 of 10

ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial. .

From at least January 2018, the Defendant joined in an agreement with others, including
but not limited to the named co-defendants, to distribute substances or mixtures containing
cocaine base, in the District of Maryland. It was reasonably foreseeable to the Defendant that
more than 280 grams of cocaine base would be distributed during the course of the conspiracy.
The Defendant and her co-defendants either sold narcotics directly to customers or assisted in the
transactions, which occurred in and around the Darley Park neighborhood in Baltimore,
Maryland. The neighborhood consisted of the 1600 blocks of Normal Avenue, Cliftview
Avenue and Harford Road.

Some of the Defendant’s acts during the course of the conspiracy include that on July 24,
2018, in the 1600 block of Normal Avenue in Baltimore, the Defendant sold cocaine base to an
undercover Baltimore Police Department Task Force Officer. When the undercover officer
entered the block after arranging to purchase narcotics from a co-conspirator (CC 1), the
Defendant approached the officer and sold twenty-one (21) plastic ziplock bags containing
cocaine base. During this encounter, the Defendant acknowledged that she knew CC1 and would
speak with CC1 about the officer. Furthermore, on October 22, 2018, in the 1600 block of
Normal Avenue, the Defendant coordinated with two co-conspirators (CC2 and CC3) to sell
cocaine base to an undercover Baltimore Police Department officer. When the undercover
officer approached CC2 to purchase narcotics, CC2 directed the undercover officer to the
Defendant and CC3, who sold the officer eight vials containing cocaine base.

The Defendant agrees that the co-conspirators frequently called and texted each other
during narcotics sales and to inform each other of Jaw enforcement’s presence at the drug shop.
The Defendant also agrees that some members of the conspiracy were in a dispute with other
drug shops and/or organizations in the area.

Other evidence of the conspiracy would include hours of pole camera footage placed in
the 1600 block of Normal Avenue depicting the operations of the drug shop. Months of pole
camera footage shows the drug shop operated seven days a week, and served individuals who
walked and drove into the shop.

The Defendant agrees that she conspired with other members of the conspiracy to
distribute cocaine base, a Schedule II controlled substance, and that it was reasonably
foreseeable to her that more than 280 grams of cocaine base would be distributed by members of
the conspiracy. The Defendant further agrees that certain members of the conspiracy possessed
firearms to protect the conspiracy’s drug territory, stash locations, and one another. For
Case 1:19-cr-00036-CCB Document 186 Filed 08/20/19 Page 10 of 10

example, two members of the conspiracy possessed a firearm and narcotics on December 4,
2018.

All events occurred in the District of Maryland.

SO STIPULATED:

 

 

 

Alan Bussard, Esq.

Counsel for Defendant

10
